     Case 1:09-cr-00011-PB   Document 39   Filed 06/22/09   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-11-PB

Joseph Delgado, et al.



                               O R D E R

     Defendant Joseph Delgado, through counsel, has moved to

continue the   trial scheduled for July 7, 2009, citing the need

for additional time to finalize plea negotiations and a

conflicting trial schedule with government counsel.           The

government and co-defendants do not object to a continuance of

the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from July 7, 2009 to September 1, 2009.                In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:09-cr-00011-PB   Document 39   Filed 06/22/09   Page 2 of 2




      The June 25, 2009 final pretrial conference is continued to

August 24, 2009 at 3:00 p.m.

      No further continuances absent good cause shown.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

June 22, 2009

cc:   Michael Ramsdell, Esq.
      Liam D. Scully, Esq.
      Ray Raimo, Esq.
      John Pendleton, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




                                     2
